              Case 4:22-cr-00083-JSW Document 14 Filed 03/31/22 Page 1 of 2



 1   JODI LINKER
     Federal Public Defender
 2   Northern District of California
     JEROME E. MATTHEWS
 3   Assistant Federal Public Defender
     13th Floor Federal Building - Suite 1350N
 4
     1301 Clay Street
 5   Oakland, CA 94612
     Telephone: (510) 637-3500
 6   Facsimile: (510) 637-3507
     Email:       Jerome_Matthews@fd.org
 7

 8   Counsel for Defendant Camacho
 9

10                                  IN THE UNITED STATES DISTRICT COURT
11                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                          OAKLAND DIVISION
13

14     UNITED STATES OF AMERICA,                            Case No.: CR 22–00083 JSW
15                     Plaintiff,                           JOINT STATUS REPORT AND
                                                            REQUEST FOR CONTINUANCE
16            v.
17     ALAN CAMACHO,
18                     Defendant.
19

20
            Pursuant to the Court’s order of March 30, 2022, Docket # 13, the parties submit the following
21
     status conference statement and request for continuance.
22
            The present case charges Mr Camacho with possession of a machinegun and auto sears in
23
     violation of 18 U.S.C. § 922(o). Mr Camacho is not in custody.
24
            The government has produced some discovery and anticipates producing additional discovery
25
     shortly. Given that defense counsel is early in the process of reviewing discovery and conducting
26
     research, the parties request that the Court continue this matter to May 3, 2022, and that the Court
27
     exclude time under the Speedy Trial Act for effective preparation of counsel. 18 U.S.C. §
28
     3161(h)(7)(A) and (B)(iv).
     JOINT STATUS REPORT
     CAMACHO, CR 22–00083 JSW
                                                        1
              Case 4:22-cr-00083-JSW Document 14 Filed 03/31/22 Page 2 of 2



 1
            Dated: March 31, 2022                       STEPHANIE HINDS
 2                                                      United States Attorney
 3

 4                                               By:    ___/s/____________________
                                                        KYLE WALDINGER
 5                                                      Assistant United States Attorney
 6

 7        Dated: March 31, 2022

 8                                                          JODI LINKER
                                                            Federal Public Defender
 9

10                                                               /s/
                                                            JEROME E. MATTHEWS
11
                                                            Assistant Federal Public Defender
12

13                       [PROPOSED] ORDER CONTINUING STATUS CONFERENCE
14          Good cause appearing therefor, IT IS ORDERED that the status conference presently set for
15   April 5, 2022 be continued to May 3, 2022, and that time under the Speedy Trial Act be excluded for
16   effective preparation of counsel, taking into account the exercise of due diligence. 18 U.S.C. §
17   3161(h)(7)(A) and (B)(iv).
18

19          Dated: April ____, 2022                     ___________________________________
                                                        HON. JEFFREY S. WHITE
20                                                      United States District Judge

21

22

23

24

25

26

27

28

     JOINT STATUS REPORT
     CAMACHO, CR 22–00083 JSW
                                                        2
